Case 2:07-cr-20246-DML-MKM ECF No. 368, PageID.2570 Filed 11/03/11 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                Plaintiff,                                     Case Number 07-20246
                                                               Honorable David M. Lawson
        v.

 GARY TRANELL YOUNG,

             Defendant.
 _____________________________/

        ORDER DENYING DEFENDANT’S MOTION FOR CLARIFICATION OF
                            ELIGIBILITY

        The matter is before the Court on the defendant’s motion to clarify whether he is eligible for

 a sentence reduction or modification as a result of the retroactivity of the Fair Sentencing Act. The

 defendant’s motion must be denied because it asks for advice, not relief. The Court may not issue

 advisory opinions. “Article III of the Constitution limits the jurisdiction of federal courts to

 consideration of actual cases and controversies, and federal courts are not permitted to render

 advisory opinions.” Arnett v. Myers, 281 F.3d 552, 562 (6th Cir. 2002) (citing Adcock v. Firestone

 Tire and Rubber Co., 822 F.2d 623, 627 (6th Cir. 1987)). The Court cannot determine the

 defendant’s eligibility for a sentence reduction based on the retroactivity of the Fair Sentencing Act

 until he files a motion to reduce his sentence on that ground.

        Accordingly, it is ORDERED that the defendant’s motion for clarification of eligibility [dkt.

 #367] is DENIED.

                                                s/David M. Lawson
                                                DAVID M. LAWSON
                                                United States District Judge

 Dated: November 3, 2011
Case 2:07-cr-20246-DML-MKM ECF No. 368, PageID.2571 Filed 11/03/11 Page 2 of 2




                                            PROOF OF SERVICE

                    The undersigned certifies that a copy of the foregoing order was served
                    upon each attorney or party of record herein by electronic means or first
                    class U.S. mail on November 3, 2011.

                                                      s/Deborah R. Tofil
                                                      DEBORAH R. TOFIL




                                                      -2-
